                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,                             No. 23-CR-1011 CJW-MAR
                Plaintiff,
 vs.                                           ORDER REGARDING MAGISTRATE
                                                   JUDGE’S REPORT AND
 RYAN MARSHALL THOMAS
                                                    RECOMMENDATION
 STREETS,
                                                 CONCERNING DEFENDANT’S
                Defendant.                             GUILTY PLEA
                                ____________________

                   I.        INTRODUCTION AND BACKGROUND
       On April 19, 2023, a two-count Indictment was filed against defendant. On July
10, 2023, defendant appeared before United States Magistrate Judge Mark A. Roberts
and entered a plea of guilty to counts one and two of the Indictment. On July 10, 2023,
Judge Roberts filed a Report and Recommendation (“R&R”) in which he recommended
defendant’s guilty plea be accepted. The parties did not file objections to Judge Roberts’
R&R.     The Court, therefore, undertakes the necessary review of Judge Roberts’
recommendation to accept defendant’s plea in this case.
                                   II.     ANALYSIS
       Under the statute, this Court’s standard of review for a magistrate judge’s R&R is
as follows:
       A judge of the court shall make a de novo determination of those portions
       of the report or specified proposed findings or recommendations to which
       objection is made. A judge of the court may accept, reject, or modify, in
       whole or in part, the findings or recommendations made by the magistrate
       judge.

28 U.S.C. § 636(b)(1)(C).
       When parties do not object to a magistrate judge’s report and recommendation,
the Court reviews the report and recommendation for clear error.           28 U.S.C. §


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636(b)(1)(A). Similarly, Federal Rule of Criminal Procedure 59(b) provides for review
of a magistrate judge’s R&R on dispositive motions, where objections are made, as
follows:
       The district judge must consider de novo any objection to the magistrate
       judge’s recommendation. The district judge may accept, reject, or modify
       the recommendation, receive further evidence, or resubmit the matter to the
       magistrate judge with instructions.

FED. R. CRIM. P. 59(b)(3).1
       In this case, the parties filed no objections, and it appears to the Court upon review
that Judge Roberts’ findings and conclusions are not clearly erroneous. Therefore, the
Court ACCEPTS Judge Roberts’ R&R of July 10, 2023, and ACCEPTS defendant’s
plea of guilty in this case to counts one and two of the Indictment.
       IT IS SO ORDERED this 25th day of July, 2023.



                                          _________________________
                                          C.J. Williams
                                          United States District Judge
                                          Northern District of Iowa




1
   United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016) (per curiam),
suggests that a defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed.



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